
99 N.Y.2d 573 (2003)
RASCOFF/ZSYBLAT ORGANIZATION, INC., et al., Appellants,
v.
DIRECTORS GUILD OF AMERICA, INC., Respondent.
Court of Appeals of the State of New York.
Submitted November 12, 2002.
Decided January 16, 2003.
Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that affirmed the grant of summary judgment as to the first and third counterclaims and severed those counterclaims, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining part of the Appellate Division order does not finally determine the action within the meaning of the Constitution.
